               Case 19-11321-KG         Doc 3     Filed 06/10/19   Page 1 of 10



                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re                                                Chapter 15

Unique Broadband Systems Ltd.,                       Case No. 19-_________ (      )

              Debtor in a Foreign Proceeding.        Joint Administration Requested

In re                                                Chapter 15

UBS-Axcera, Inc.,                                    Case No. 19-_________ (      )

               Debtor in a Foreign Proceeding.       Joint Administration Requested


  MOTION OF THE RECEIVER AS AUTHORIZED FOREIGN REPRESENTATIVE
 FOR JOINT ADMINISTRATION OF CHAPTER 15 CASES AND RELATED RELIEF

               BDO Canada Limited, solely in its capacity as court-appointed receiver (the

“Receiver”), manager, and authorized foreign representative of Unique Broadband Systems Ltd.

(“UBS”) and UBS-Axcera, Inc. (“UBS-Axcera,” and, with UBS, the “Debtors”), and not in its

personal or corporate capacity, hereby moves (the “Motion”) for entry of an order, substantially

in the form attached as Exhibit A, (i) directing the joint administration of these cases for

procedural purposes only pursuant to section 105(a) of title 11 of the United States Code, 11

U.S.C. §§ 101–1532 (as amended, the “Bankruptcy Code”), Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”); (ii) authorizing the filing of a consolidated list pursuant to

Bankruptcy Rule 1007(a)(4); and (iii) granting related relief.

               In support of this Motion, the Receiver incorporates by reference the

contemporaneously filed Declaration of Gary Cerrato in Support of (I) Chapter 15 Petitions for

Recognition of Foreign Proceeding, (II) Motion of the Receiver for Entry of Provisional and
                Case 19-11321-KG         Doc 3     Filed 06/10/19     Page 2 of 10



Final Relief in Aid of Foreign Proceeding, and (III) Certain Related Relief (the “Cerrato

Declaration”) and further respectfully states as follows:

                                 JURISDICTION AND VENUE

                1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012. Recognition of a foreign proceeding and

other matters under chapter 15 of the Bankruptcy Code are core matters under 28 U.S.C. §

157(b)(2)(P).

                2.     The Receiver, solely in its capacity as authorized foreign representative,

and not in its personal or corporate capacity, consents to the entry of final orders or judgments by

the Court if it is determined that the Court, absent consent of the parties, cannot enter final orders

or judgments consistent with Article III of the United States Constitution.

                3.     Venue in this district is proper under 28 U.S.C. §§ 1410(1) and (3).

                                         BACKGROUND

                4.     On or about May 28, 2019, the Superior Court of Justice (Commercial

List) in Ontario, Canada (the “Canadian Court”) entered its Receivership Order appointing the

Receiver as receiver and manager of all assets, undertakings and properties of the Debtors

pursuant to section 101 of Ontario’s Courts of Justice Act, R.S.O. 1990, c. C.43, as amended and

section 243(1) of Canada’s Bankruptcy and Insolvency Act, R.S.C. 1985, c. B-3, as amended.

The proceeding before the Canadian Court is captioned under Court File No.: CV-19-620769-

00CL (the “Canadian Proceeding”).




                                                  2
                Case 19-11321-KG         Doc 3     Filed 06/10/19     Page 3 of 10



               5.      On the date hereof, the Receiver filed petitions under chapter 15 of the

Bankruptcy Code for recognition of the Canadian Proceeding, thereby commencing the Debtors’

chapter 15 cases.

               6.      Additional information concerning the Debtors, the Canadian Proceeding,

and these chapter 15 cases is found in the Cerrato Declaration.

                                     RELIEF REQUESTED

               7.      The Receiver seeks entry of an order substantially in the form attached as

Exhibit A directing joint administration of the Debtors’ chapter 15 cases for procedural purposes

only.

               8.      The Receiver also requests that the caption of the Debtors’ chapter 15

cases be modified to reflect joint administration of the chapter 15 cases as follows:


                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re                                                 Chapter 15

Unique Broadband Systems Ltd., et al.,                Case No. 19-_________ (        )

             Debtors in a Foreign Proceeding.1        Jointly Administered

1
        The Debtors and the last four digits of their U.S. Federal Employer Identification Numbers or
        other unique identifier are as follows: Unique Broadband Systems Ltd. (2249) (Ontario
        Corporation No.) and UBS-Axcera, Inc. (3865) (FEIN). The Debtors’ mailing address is 400
        Spinnaker Way, Concord, ON L4K 5Y9, Canada. The Receiver and authorized foreign
        representative is BDO Canada Limited, 20 Wellington Street East, Suite 500 Toronto, ON M5E
        1C5, Canada.


               9.      The Receiver requests that the Court find that the proposed caption

satisfies the requirements of section 342(c)(1) of the Bankruptcy Code and Bankruptcy Rule

1005.



                                                 3
                Case 19-11321-KG         Doc 3    Filed 06/10/19     Page 4 of 10



               10.     The Receiver also seeks the Court’s direction that the following notation

be entered on the docket of the chapter 15 case of UBS-Axcera, Inc., to reflect the joint

administration of these cases:

               An Order has been entered in this case in accordance with Rule
               1015(b) of the Federal Rules of Bankruptcy Procedure and Rule
               1015-1 of the Local Rules of Bankruptcy Practice and Procedure of
               the United States Bankruptcy Court for the District of Delaware
               directing the procedural consolidation and joint administration of
               the chapter 15 cases of Unique Broadband Systems Ltd. and UBS-
               Axcera, Inc. The docket in Case No. 19-_______ (____) should be
               consulted for all matters affecting this case.

               11.     Further, the Receiver requests that the Court authorize the Receiver to file

and utilize a combined list under Bankruptcy Rule 1007(a)(4) for these jointly-administered

chapter 15 cases and that combined notices may be sent to the Debtors’ creditors and other

parties in interest where appropriate.

                              BASIS FOR RELIEF REQUESTED

               12.     Bankruptcy Rule 1015(b) provides that if two or more petitions for relief

are pending in the same court by or against a debtor and its affiliate, the court may order joint

administration of the cases. The Debtors are “affiliates” as that term is defined under section

101(2) of the Bankruptcy Code, as UBS-Axcera is a wholly-owned subsidiary of UBS.

               13.     Additionally, Local Rule 1015-1 provides that this Court may order joint

administration without notice or a hearing upon the filing of a motion requesting such joint

administration and an affidavit or verification establishing that joint administration is warranted

and will ease the administrative burden for the Court and the parties.

               14.     Entry of an order directing joint administration of the Debtors’ chapter 15

cases will avoid duplicative notices, applications and orders, thereby saving the Receiver and

parties in interest considerable time and expense, as well as ease the administrative burden on the

                                                 4
                Case 19-11321-KG         Doc 3    Filed 06/10/19     Page 5 of 10



Court and the parties. The rights of creditors will not be adversely affected because this Motion

requests only administrative consolidation of the chapter 15 cases. By aggregating all papers

related to both Debtors under the same case caption and docket, creditors and parties in interest

will be able to access and review relevant information concerning the Debtors in one place, and

will thereby be better able to keep apprised of the matters before this Court.

               15.     Additionally, filing a consolidated list under Bankruptcy Rule 1007(a)(4)

is appropriate in these cases. As the provisional and final relief sought in each of these cases is

identical, and any additional relief sought is likely to impact most or all of the Debtors, the

Receiver anticipates that most if not all motions, notices, hearings, orders and other papers filed

in these cases will affect most or all of the Debtors. Under these circumstances filing and

maintaining separate lists under Bankruptcy Rule 1007(a)(4) would result in unnecessary

confusion and wasteful duplication of effort and service.

               WHEREFORE, the Receiver respectfully requests that the Court enter an order

substantially in the form attached as Exhibit A: (i) directing the joint administration of these

cases for procedural purposes only; (ii) authorizing the filing of a consolidated list pursuant to

Bankruptcy Rule 1007(a)(4); and (iii) granting related relief.


Dated: June 10, 2019
       Wilmington, Delaware
                                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                             /s/ Paige N. Topper
                                             Derek C. Abbott (No. 3367)
                                             Matthew B. Harvey (No. 5186)
                                             Paige N. Topper (No. 6470)
                                             1201 N. Market St., 16th Floor
                                             Wilmington, DE 19801
                                             Telephone: (302) 658-9200
                                             Facsimile: (302) 658-3989
                                             dabbott@mnat.com

                                                 5
Case 19-11321-KG   Doc 3   Filed 06/10/19   Page 6 of 10



                      mharvey@mnat.com
                      ptopper@mnat.com

                      - and -

                      THORNTON GROUT FINNIGAN LLP
                      D.J. Miller
                      Rachel Bengino
                      Suite 3200, Canadian Pacific Tower
                      100 Wellington St. West
                      Toronto (Ontario), Canada M5K 1K7
                      Telephone: (416) 304-1616
                      Facsimile: (416) 304-1313
                      djmiller@tgf.ca
                      rbengino@tgf.ca

                      Counsel for the Receiver as Foreign Representative




                           6
Case 19-11321-KG    Doc 3   Filed 06/10/19   Page 7 of 10




                     Exhibit A

                   Proposed Order
                Case 19-11321-KG        Doc 3    Filed 06/10/19       Page 8 of 10



                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re                                                   Chapter 15

Unique Broadband Systems Ltd.,                          Case No. 19-_________ (      )

              Debtor in a Foreign Proceeding.           Joint Administration Requested

In re                                                   Chapter 15

UBS-Axcera, Inc.,                                       Case No. 19-_________ (      )

               Debtor in a Foreign Proceeding.          Joint Administration Requested


                 ORDER DIRECTING JOINT ADMINISTRATION OF
               CHAPTER 15 CASES AND GRANTING RELATED RELIEF

               Upon the motion (the “Motion”)1 of BDO Canada Limited, solely in its capacity

as court-appointed receiver (the “Receiver”), manager, and authorized foreign representative of

Unique Broadband Systems Ltd. (“UBS”) and UBS-Axcera, Ltd. (“UBS-Axcera,” and, with

UBS, the “Debtors”), and not in its personal or corporate capacity, for entry of an order: (i)

directing the joint administration of these cases for procedural purposes only pursuant to section

105(a) of the Bankruptcy Code, Bankruptcy Rule 1015(b) and Local Rule 1015-1; (ii)

authorizing the filing of a consolidated list pursuant to Bankruptcy Rule 1007(a)(4); and (iii)

granting related relief; and the Court having reviewed and considered the Motion and the Cerrato

Declaration; and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

               1.     The relief requested in the Motion is GRANTED as set forth herein.




1
        Capitalized terms not defined herein are defined in the Motion.
                Case 19-11321-KG         Doc 3     Filed 06/10/19     Page 9 of 10



               2.      Pursuant to Bankruptcy Rule 1015(b), the Debtors’ chapter 15 cases are

consolidated for procedural purposes only and shall be jointly administered by the Court under

the docket of Case No. 19-__________ (___).

               3.      The Clerk of Court shall maintain one file and one docket for these jointly

administered cases, which file and docket for all these chapter 15 cases shall be the file and

docket for Unique Broadband Systems Ltd., Case No. 19-__________ (___).

               4.      All pleadings and other papers filed in these chapter 15 cases shall bear a

consolidated caption in the following form:

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re                                                 Chapter 15

Unique Broadband Systems Ltd., et al.,                Case No. 19-_________ (        )

             Debtors in a Foreign Proceeding.1        Jointly Administered

1
        The Debtors and the last four digits of their U.S. Federal Employer Identification Numbers or
        other unique identifier are as follows: Unique Broadband Systems Ltd. (2249) (Ontario
        Corporation No.) and UBS-Axcera, Inc. (3865) (FEIN). The Debtors’ mailing address is 400
        Spinnaker Way, Concord, ON L4K 5Y9, Canada. The Receiver and authorized foreign
        representative is BDO Canada Limited, 20 Wellington Street East, Suite 500 Toronto, ON M5E
        1C5, Canada.

               5.      The foregoing caption satisfies the requirements set forth in section 342(c)

of the Bankruptcy Code and Bankruptcy Rule 1005 in all respects.

               6.      The following notation shall be entered on the docket of the chapter 15

case of UBS-Axcera, Inc., to reflect the joint administration of these cases:

               An Order has been entered in this case in accordance with Rule
               1015(b) of the Federal Rules of Bankruptcy Procedure and Rule
               1015-1 of the Local Rules of Bankruptcy Practice and Procedure of
               the United States Bankruptcy Court for the District of Delaware
               directing the procedural consolidation and joint administration of
               the chapter 15 cases of Unique Broadband Systems Ltd. and UBS-

                                                 2
               Case 19-11321-KG           Doc 3   Filed 06/10/19     Page 10 of 10



               Axcera, Inc. The docket in Case No. 19-_______ (____) should be
               consulted for all matters affecting this case.

               7.      Nothing contained in this Order shall be deemed or construed as directing

or otherwise effecting the substantive consolidation of any of the above-captioned cases.

               8.      The Receiver is authorized to file and utilize a combined list under

Bankruptcy Rule 1007(a)(4) for the Debtors’ jointly-administered cases and may send combined

notices to creditors of the Debtors and other parties in interest where appropriate.

               9.      The Receiver is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order.

               10.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry, and the Clerk is hereby directed to enter this Order on the docket in

the chapter 15 case of each of the Debtors.

               11.     This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.



Dated: Wilmington, Delaware
       _____________, 2019
                                         _____________________________________________
                                         UNITED STATES BANKRUPTCY JUDGE




                                                  3
